




02-12-261-CR









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

NO. 02-12-00261-CR

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&nbsp;


 
  
  Alexander Peter Hughes
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  The State of Texas
  
  
  &nbsp;
  
  
  STATE
  
 


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&nbsp;

FROM THE 432nd
District Court OF Tarrant COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
have considered “Appellant=s Motion To Dismiss Appeal.”&nbsp;
The motion complies with rule 42.2(a) of the rules of appellate procedure.&nbsp;
Tex. R. App. P. 42.2(a).&nbsp; No
decision of this court having been delivered before we received this motion, we
grant the motion and dismiss the appeal.&nbsp; See Tex. R. App. P. 42.2(a), 43.2(f).

&nbsp;

PER
CURIAM

&nbsp;

PANEL:&nbsp; MCCOY, MEIER, and GABRIEL, JJ.

&nbsp;

DO NOT PUBLISH

Tex. R. App.
P. 47.2(b)

&nbsp;

DELIVERED: June 21, 2012&nbsp; 








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[1]See
Tex. R. App. P. 47.4.







